Case 8:22-cv-01164-JVS-ADS     Document 58 Filed 12/06/22          Page 1 of 13 Page ID
                                     #:419


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 13
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 14
                           UNITED STATES DISTRICT COURT
 15
                         CENTRAL DISTRICT OF CALIFORNIA
 16
       In re: Illuminate Education Data          Case No. 8:22-cv-1404-JVS-ADSx
 17    Security Incident Litigation
                                                 Class Action
 18
                                                 JOINT RULE 26(f) MEETING
 19                                              REPORT
 20                                              Date:          December 19, 2022
                                                 Time:          10:30 a.m.
 21                                              Judge:         Hon. James V. Selna
                                                 Courtroom:     10C
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                                                                   Case No. 8:22-cv-1404-JVS-ADSx
                                 JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS     Document 58 Filed 12/06/22         Page 2 of 13 Page ID
                                     #:420


  1         On September 22, 2022, this Court issued an Order in the action entitled In
  2   re: Illuminate Education Data Security Incident Litigation, No. 8:22-cv-01164-
  3   JVS-ADS, granting Plaintiffs’ Joint Motion to Consolidate Cases [Dkt No. 54].
  4         Plaintiffs Anastasiya Kisil, Lucas Cranor, Kristen Weiland, Tara Chambers,
  5   Janene Vitro and Lorraine Deniz (collectively the “Plaintiffs”) and defendant
  6   Illuminate Education, Inc. (“Defendant”) submit this Joint Rule 26(f) Meeting
  7   Report pursuant to this Court’s Order of September 19, 2022, filed in the action
  8   entitled In re: Illuminate Education Data Security Incident Litigation, No. 8:22-cv-
  9   01164-JVS-ADS [Dkt No. 53].
 10         A.     Synopsis
 11                (a) Plaintiffs:
 12         Illuminate is a software company that provides “a streamlined solution that
 13   helps educators to accurately assess learning, identify needs, align whole child
 14   supports, and drive school improvement in order to equitably accelerate growth for
 15   every learner.” Illuminate services approximately 17 million students in
 16   approximately 5,200 schools and districts across all 50 states. Illuminate’s products
 17   collect, among other things, student attendance and grades, names, birth dates, class
 18   schedules, behavioral records, and whether they receive special education or free or
 19   reduced-price lunches
 20         In fact, Illuminate stores demographic information, including name, mailing
 21   address, email address, and date of birth, student education and behavioral records,
 22   health-related information, including student immunizations, and vision and hearing
 23   screening results, and system usernames and passwords. Illuminate touts that “[w]e
 24   protect your data like it’s our own.” However, according to news reports, on
 25   January 8, 2022, Illuminate became aware that an unauthorized third party gained
 26   access to databases of schools maintained by Illuminate that contained the
 27   personally identifiable information (“PII”) and protected health information (PHI”)
 28   of the students (collectively, “Private Information”) maintained by Illuminate (the

                                               -1-              Case No. 8:22-cv-01164-JVS-ADSx
                                 JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS      Document 58 Filed 12/06/22          Page 3 of 13 Page ID
                                      #:421


  1   “Data Breach”).
  2         Despite Illuminate’s investigation finding that “certain databases, containing
  3   potentially protected student information” had taken place between December 28,
  4   2021 and January 8, 2022, Illuminate did not notify schools of the breach until
  5   March 2022. Based on news reports and other sources, the compromised files and
  6   data included names, birthdays, ethnicities, home languages, and student ID
  7   numbers of current and former students going back to the 2016-17 school year.
  8   Other information, such as whether students receive special education services,
  9   class and teacher schedules, and whether students receive free lunch was also
 10   disclosed. Academic and behavior information may also have been compromised.
 11         Defendant’s failure to ensure that its customers’ data was adequately secure
 12   fell far short of its obligations, public commitments and Plaintiffs’ and Class
 13   Members’ reasonable expectations for data privacy. Defendant has jeopardized
 14   Plaintiffs’ and Class Members’ security of their Private Information and has put
 15   them at serious risk of fraud and identity theft. Defendant also failed to ensure that
 16   Plaintiffs’ and Class Members’ reasonable expectations for data privacy would be
 17   maintained, jeopardizing the security of their Private Information and putting them
 18   at serious risk of fraud and identity theft by failing to adequately maintain the
 19   security of Plaintiffs’ and Class Members’ Private Information. Plaintiffs have
 20   pleaded variety of concrete injuries and categories of damages that have been well
 21   recognized as cognizable claims for purposes of demonstrating standing and
 22   obtaining monetary and injunctive relief in similar data breach cases.
 23                (b) Defendant:
 24         Defendant Illuminate Education, Inc. (“Illuminate”) provides software
 25   applications to support educators across the country. In January 2022, Illuminate
 26   became aware of suspicious activity affecting certain of its applications. After a
 27   reasonable investigation, Illuminate notified schools and school districts that certain
 28   student information may have been subject to unauthorized access as part of the

                                               -2-               Case No. 8:22-cv-01164-JVS-ADSx
                                  JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS      Document 58 Filed 12/06/22          Page 4 of 13 Page ID
                                      #:422


  1   cyberattack.
  2         Plaintiffs are students in California, Colorado, and New York who allege that
  3   their data was stored on Illuminate’s Pupilpath platform. Am. Consolidated Compl.
  4   ¶¶ 16-22. That data allegedly included “students’ attendance and grades, names,
  5   birth dates, class schedules, behavioral records, and health and economic
  6   information such as whether they qualify for special education or free or reduced-
  7   price lunches.” Id. ¶ 5. Plaintiffs claim that Illuminate also stores “demographic
  8   information, including name, mailing address, email address, and date of birth,
  9   student education and behavioral records, health-related information, including
 10   student immunizations and vision and hearing screening results, and system
 11   usernames and passwords.” Id.
 12         Plaintiffs do not allege that there was any unauthorized access to financial
 13   information or social-security numbers as a result of the breach. Nor do they allege
 14   that they had their identities stolen or have experienced fraud of any kind as a result
 15   of the alleged unauthorized access to certain Illuminate products. Nevertheless,
 16   plaintiffs claim that they face “a substantially increased risk of identity theft and
 17   fraud, and they must now take immediate and time-consuming action to protect
 18   themselves from such identity theft and fraud.” Id. ¶ 149. The complaint also
 19   alleges that plaintiffs and other putative class members suffered “loss of value and
 20   loss of possession and privacy” of their “Private Information.” Id.
 21         Although plaintiffs have not experienced any fraud or identity theft and
 22   cannot identify anyone who has, plaintiffs filed this putative class action seeking to
 23   represent a nationwide class and classes of California, New York, and Colorado
 24   residents “whose Private information was exposed to unauthorized third parties as a
 25   result of the compromise of Illuminate Education, Inc. that occurred between
 26   December 2021 and January 2022.” Id. ¶¶ 173-74. Plaintiffs assert claims for
 27   negligence; negligence per se; invasion of privacy; breach of confidence; breach of
 28   contract; and various statutory claims under all three states’ laws. Plaintiffs also

                                                -3-               Case No. 8:22-cv-01164-JVS-ADSx
                                  JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS      Document 58 Filed 12/06/22          Page 5 of 13 Page ID
                                      #:423


  1   seek declaratory relief under 22 U.S.C. § 2201.
  2         B.     Legal Issues
  3         Plaintiffs state that the legal issues to be decided include whether Defendant
  4   adequately protected Plaintiffs’ and putative class members’ Private Information;
  5   whether Defendant breached its contract with Plaintiffs and the putative class
  6   members; the amount of damages to Plaintiffs and the putative class members; and
  7   whether this action is proper for class treatment. Defendant further state that the
  8   legal issues the Court will need to decide include whether Plaintiffs having
  9   standing; whether they were injured by the alleged conduct of Defendant; whether
 10   any injuries were caused by Defendant; and whether the statutes Plaintiffs invoke
 11   actually apply to Defendant’s alleged conduct, among other things.
 12         C.     Damages
 13         Plaintiffs will prove damages in a manner consistent with their motion for
 14   class certification. Plaintiffs’ experts will determine the methodology and amount
 15   of class wide damages after information is obtained from Defendant through
 16   discovery. Defendant disputes that Plaintiffs suffered any damages as a result of
 17   the conduct alleged in the complaint.
 18         D.     Insurance
 19         Plaintiffs are not aware of any insurance agreement applicable to the instant
 20   case. Defendant will disclose any applicable insurance agreements in accordance
 21   with Rule 26.
 22         E.     Motions
 23         At this time, the Parties do not anticipate filing any motions seeking to (i)
 24   add other parties or claims, (ii) file amended pleadings, or (iii) transfer venue.
 25         F.     Discovery and Experts
 26         According to the Court’s Order of September 19, 2022, filed in the action
 27   entitled In re: Illuminate Education Data Security Incident Litigation, No. 8:22-cv-
 28   01164-JVS-ADS [Dkt No. 53], the Parties’ initial disclosures under Rule 26(a) are

                                                -4-               Case No. 8:22-cv-01164-JVS-ADSx
                                  JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS       Document 58 Filed 12/06/22          Page 6 of 13 Page ID
                                       #:424


  1   due December 12, 2022.
  2           Plaintiffs will seek discovery on the following non-exhaustive list of topics:
  3   (i) policies and procedures concerning data security and storage; (ii) Defendant’s
  4   public statements concerning the Data Breach, including on its website; (iii)
  5   documents pertaining to the Data Breach at issue and Defendant’s knowledge of
  6   that Data Breach; (iv) documents relevant to Defendant’s investigation of the
  7   relevant Data Breach; (v) the number of students, schools, and districts affected;
  8   and (vi) evidence on which Defendant intends to rely to support its affirmative
  9   defenses.
 10           Defendant will seek discovery on the following non-exhaustive list of topics:
 11   (i) the specific contract Illuminate entered into with each of Plaintiffs’ school
 12   districts; (ii) Plaintiffs’ allegations of harm; (iii) Plaintiffs’ mitigation costs; (iv)
 13   Plaintiffs’ data-security practices; and (v) other data breaches affecting Plaintiffs’
 14   data.
 15           G.    Dispositive Motions
 16           At this time, Plaintiffs do not anticipate any significant motions other than
 17   their motion for class certification. However, Plaintiffs reserve their right to move
 18   for summary judgment if warranted after discovery. Pursuant to the schedule
 19   established by the Court, [Dkt No. 43], Defendant will file its motion to dismiss the
 20   Complaint 60 days from the filing of Plaintiffs Consolidated Complaint that was
 21   filed on November 7, 2022. If the case proceeds, Defendant intends to file a motion
 22   for summary judgment.
 23           The parties have proposed competing case schedules, which are attached as
 24   Exhibit A.
 25           H.    Settlement and Settlement Mechanism
 26           Although Plaintiffs are open to engaging in settlement discussions in
 27   principle, such discussions are unlikely to be productive until the Court rules on
 28   Defendant’s motion to dismiss and after sufficient discovery is completed. The

                                                  -5-                Case No. 8:22-cv-01164-JVS-ADSx
                                   JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS      Document 58 Filed 12/06/22         Page 7 of 13 Page ID
                                      #:425


  1   Parties agree that private mediation would be a suitable form of ADR in this matter,
  2   with such mediation to occur within 90 days following the Court’s decision on the
  3   motion to dismiss.
  4         I.     Trial Estimate
  5         Plaintiffs estimate that 5-7 days would be required for a jury trial. Plaintiffs
  6   anticipate calling 5-7 witnesses. Given the early stage of this putative class action
  7   and the significant issues to still be decided (including whether class treatment is
  8   appropriate and the number of experts that will be allowed), Defendant submits that
  9   it cannot provide a reasonable estimate for the length of trial and number of
 10   witnesses.
 11         J.     Timetable
 12         Pursuant to the Court’s Scheduling Order, dated August 11, 2022 (ECF No.
 13   43), Plaintiffs filed their Amended Consolidated Complaint on November 7, 2022
 14   and Defendant’s motion to dismiss the complaint is due January 6, 2022. Briefing
 15   on the motion to dismiss will not be complete until March 22, 2022. Id. In addition
 16   to bringing a motion to dismiss for failure to state a claim under Federal Rule of
 17   Civil Procedure 12(b)(6), Defendant also anticipates moving to dismiss Plaintiffs’
 18   claims for lack of subject matter jurisdiction under Rule 12(b)(1).
 19         Defendant’s Position: Defendants will argue in its forthcoming motion to
 20   dismiss that plaintiffs in this matter lack standing to pursue their claims because
 21   they have not pled any actual or impending harm arising out of the data security
 22   incident. Plaintiffs must establish standing “for each claim that they press and for
 23   each form of relief that they seek (for example, injunctive relief and
 24   damages),” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021), and courts
 25   in data-breach cases regularly dismiss claims for lack of standing. Defendant
 26   submits that discovery should be deferred until after the Court’s determination
 27   whether it has subject-matter jurisdiction over the claims in this action, and any
 28   subsequent discovery deadlines should be keyed off of the Court’s disposition.

                                               -6-               Case No. 8:22-cv-01164-JVS-ADSx
                                 JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS      Document 58 Filed 12/06/22          Page 8 of 13 Page ID
                                      #:426


  1         Defendants further submit that because the court’s ruling on class
  2   certification will determine which merits issues, if any, are litigated on a class-wide
  3   basis, class certification should be litigated only after a ruling on the motion to
  4   dismiss and fulsome fact and expert discovery. Plaintiffs’ proposed schedule, by
  5   contrast, makes no sense because it contemplates that their motion for class
  6   certification will be filed potentially before this Court has even ruled on a motion to
  7   dismiss and before the parties will have the opportunity to conduct fulsome fact and
  8   expert discovery. Similarly, summary judgment will need to be disposed of before
  9   the parties proceed to trial, and Plaintiffs’ schedule has no allowance for summary-
 10   judgment motions.
 11         Given the important legal and factual issues presented by this case,
 12   Defendant’s proposed schedule better reflects with the work the parties will need to
 13   perform. Defendants have therefore proposed case deadlines that are keyed off of
 14   the Court’s rulings on each of these dispositive and non-dispositive motions, as laid
 15   out in Exhibit A.
 16         Plaintiffs’ Position: Plaintiffs submit that discovery has commenced
 17   pursuant to the Rule 26 process. Plaintiffs do not agree that discovery should be
 18   stayed or phased pending resolution of any of Defendant’s forthcoming Rule 12
 19   Motions and are unaware of other federal courts imposing any discovery stays in
 20   data breach cases. Should Defendant seek a formal stay of discovery, an appropriate
 21   motion should be filed according to this Court’s procedures. Plaintiffs’ proposed
 22   schedule, which proposes an April 30, 2024 trial date, and sets proposed dates
 23   certain for the close of fact and expert discovery, and class certification and
 24   summary judgment motions, is set forth in Exhibit A.
 25         K.     Other Issues
 26         The Parties are not presently aware of any other issues that may facilitate the
 27   just, speedy, and inexpensive disposition of this matter.
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                                                -7-               Case No. 8:22-cv-01164-JVS-ADSx
                                  JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS       Document 58 Filed 12/06/22          Page 9 of 13 Page ID
                                       #:427


  1           L.    Conflicts
  2           The Parties are not aware of any conflicts applicable to the instant case.
  3           M.    Patent Cases
  4           No patents are at issue in this lawsuit.
  5           N.    Magistrates
  6           The Parties do not consent to have a Magistrate Judge preside over the instant
  7   case.
  8
  9                                           Respectfully submitted,
 10                                           KAPLAN FOX & KILSHEIMER LLP
 11    DATED: December 5, 2022                By: /s/ Laurence D. King
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                                                 -8-              Case No. 8:22-cv-01164-JVS-ADSx
                                   JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS   Document 58 Filed 12/06/22       Page 10 of 13 Page ID
                                    #:428


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                                            -9-               Case No. 8:22-cv-01164-JVS-ADSx
                               JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS    Document 58 Filed 12/06/22          Page 11 of 13 Page ID
                                     #:429


  1         ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
  2         I, Devin S. Anderson, attest that concurrence in the filing of this document
  3   has been obtained from the other signatory.
  4         I declare under penalty of perjury under the laws of the United States of
  5   America that the foregoing is true and correct.
  6         Executed this 5th day of December, 2022, at Salt Lake City, Utah.
  7
  8                                                     /s/ Devin S. Anderson
                                                           Devin S. Anderson
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                                              - 10 -              Case No. 8:22-cv-01164-JVS-ADSx
                                 JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS          Document 58 Filed 12/06/22         Page 12 of 13 Page ID
                                           #:430


  1                                             EXHIBIT A
                                           Judge James V. Selna
  2                                 Presumptive Schedule of Pretrial Dates
  3                                                               Plaintiffs’   Defendant’s
                                                                   Request       Request
  4                                                     Weeks       (insert       (insert
                                                        before     specific      specific        Court
  5               Matter                     Time        Trial       date)         date)         Order
       Fact Discovery
  6    Fact discovery begins                                      Plaintiffs    14 days after
                                                                 submit that     decision on
  7                                                                  fact         MTD, if
                                                                  discovery      claims are
  8                                                              has already     allowed to
                                                                  begun per       proceed
  9                                                              F.R.Civ.P.
                                                                     26.
 10    Close of fact discovery                                    Aug. 15,        9 months
                                                                    2023        after decision
 11                                                                              on MTD, if
                                                                                  claims are
 12                                                                              allowed to
                                                                                   proceed
 13    Class Certification Motion
       Plaintiffs’ motion                                         June 30,      60 days after
 14                                                                 2023          close of
                                                                                   expert
 15                                                                              discovery
       Defendant’s opposition                                      Aug. 4,      60 days after
 16                                                                 2023         plaintiff’s
                                                                                   motion
 17    Plaintiffs’ reply                                           Sep. 1,      30 days after
                                                                    2023        defendant’s
 18                                                                              opposition
       Expert Discovery
 19    Plaintiffs’ expert reports                                 Sept. 15,     30 days after
                                                                   2023         close of fact
 20                                                                              discovery
       Defendant’s expert reports                                  Oct. 16,     30 days after
 21                                                                 2023         service of
                                                                                 plaintiffs’
 22                                                                                expert
                                                                                   reports
 23    Close of expert discovery                                  Nov. 17,      30 days after
 24                                                                2023          service of
                                                                                defendant’s
 25                                                                                expert
                                                                                   reports
 26    Summary Judgment Motions
       Motions for summary                                         Dec. 8,      60 days after
 27    judgment                                                     2023         decision on
                                                                                    class
 28                                                                             certification
       Oppositions                                                 Jan. 12,     60 days after
                                                    -1-              Case No. 8:22-cv-01164-JVS-ADSx
                                      JOINT RULE 26(f) MEETING REPORT
Case 8:22-cv-01164-JVS-ADS          Document 58 Filed 12/06/22       Page 13 of 13 Page ID
                                           #:431


  1                                                                2024        motions for
                                                                                summary
  2                                                                             judgment
       Replies                                                    Feb. 2,     30 days after
  3                                                                2024        oppositions
       Pre-trial/Trial
  4    Trial date (jury) (court)          8:30 a.m.              April 30,         To be
       Estimated length: 5-7 days        (Tuesdays)               2024         scheduled
  5                                                                            following
                                                                              determinatio
  6                                                                                n on
                                                                                summary
  7                                                                             judgment
       [Court trial:] File Findings of                      -1   April 23,    1 week prior
  8    Fact and Conclusions of Law                                2024            to trial
       and Summaries of Direct
  9    Testimony
       Final Pretrial Conference;        11:00 a.m.         -2   April 15,   2 weeks prior
 10    Hearing on Motions in             (Mondays)                2024          to trial
       Limine; File Agreed Upon Set
 11    of Jury Instructions and
       Verdict Forms and Joint
 12    Statement re Disputed
       Instructions and Verdict
 13    Forms; File Proposed Voir
       Dire Qs and Agreed−to
 14    Statement of Case
       Lodge Pretrial Conf. Order;                          -3    Apr. 9,    3 weeks prior
 15    File Memo of Contentions of                                 2024         to trial
       Fact and Law; Exhibit List;
 16    Witness List; Status Report re
       Settlement
 17    Last day for hand−serving                            -6   March 19,   6 weeks prior
       Motions in Limine                                          2024          to trial
 18    Other
       Last day to conduct                                       April 30,
 19    settlement conference                                      2023
       Last day to amend pleadings                                N/A
 20    or add parties
 21          ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE
 22   L.R. 16-14 Settlement Choice: (1) CT/USMJ        (2) Court Mediation Panel (3) Private ADR
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                                                      -2-             Case No. 8:22-cv-01164-JVS-ADSx
                                      JOINT RULE 26(f) MEETING REPORT
